Case 1:04-cv-01169-.]DT-STA Document 27 Filed 08/24/05 Page 1 of 2 Page|D 28

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

JUDGMENT IN A CIVIL CASE

 

DAVID BILES,

Plaintiff,
VS. NO. l:O4-CV-1169-T
QUENTON WHITE, ET AL

Defendant(s}.

[Xl DECISION BY THE COURT. This action came to consideration
before the Court; the issues having been considered and a
decision has been rendered.

IT IS ORDERED AND ADJUDGED that in compliance with the Order
entered in the above styled matter on August 16, 2005, this
action is hereby DISMISSED; if is further CERTIFIED that any
appeal by plaintiff is not taken in good faith.

APPROVED:

MWAM

D. TODD
UNI ED STATES DISTRICT JUDGE

DATE: 2'7[ agwa

THOMAS M. GOLFLD, `cLsRK

C-%t;@l

DEPUTY CLERK

        

TAES DISTRICT oURT - WESTER D"ISRICT oF TNNESSEE

   

UNITED

mm

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 1:04-CV-01169 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Michael B. Schwegler

Offlce of the Attorney General
P.O. Box 20207

Nashville, TN 37202--020

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

David Biles

Northeast Correctional CompleX
277934

P.O. Box 5000

Mountain City, TN 37683

Honorable J ames Todd
US DISTRICT COURT

